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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

RAYON SELLERS                                    *
                                                 *     CIVIL ACTION NO. 3:16-cv-00378
                      Plaintiff                  *
versus                                           *
                                                 *     JUDGE SHELLY D. DICK
SN SERVICING CORP., WILLIAM A.,                  *
FOGLEMAN, and HOUSING                            *
OPPORTUNITY PARTNERS REO, LLC                    *     MAG. RICHARD L. BOURGEOIS
                                                 *
                      Defendants                 *

                     JOINT MOTION TO DISMISS WITH PREJUDICE


         NOW INTO COURT, though undersigned counsel, comes plaintiff, Rayon Sellers

(“Sellers”), and defendants, SN Servicing Corporation (“SN Servicing”), William A. Fogleman

(“Fogleman”), and Housing Opportunity Partners REO, LLC (“HOP”) (collectively the

“Defendants”), who respectfully submit that a settlement has been reached between all parties,

and the parties desire to dismiss all claims of plaintiff against all defendants with prejudice, and

with each party to bear its own attorney’s fees and costs.

         Submitted this the 18th day of June, 2019.




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                                           Respectfully Submitted:

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                                           SELLERS

                                           and

                                           McGLINCHEY STAFFORD, PLLC

                                           /s/ Melissa M. Grand
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                                           Amanda S. Stout (Bar Roll No. 29001)
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                                           ATTORNEYS FOR SN SERVICING
                                           CORPORATION, WILLIAM A. FOGLEMAN,
                                           AND HOUSING OPPORTUNITY PARTNERS
                                           REO, LLC

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the above and foregoing pleading has been served

upon all counsel of record in this matter via the Court’s CM/ECF electronic filing system, this

18th day of June, 2019.

                                    /s/Melissa M. Grand
                                       Melissa M. Grand




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